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14
15                        IN THE UNITED STATES DISTRICT COURT
16                                FOR THE DISTRICT OF ARIZONA
17
     United States of America,                                CR-18-00422-PHX-SMB
18
19                            Plaintiff,
               vs.                                       UNITED STATES’ NOTICE OF
20                                                      REBUTTAL EXPERT WITNESSES
21   Michael Lacey, et al.,
22
                              Defendants.
23
24          Pursuant to Rules 702, 703, 704 and 705, Fed. R. Evid., the following witnesses may
25   give testimony that might be construed as falling within the purview of these rules of
26   evidence. Through discovery and subsequent disclosures, specific reports and analyses have
27   been or will be directed to Defendants regarding the specific nature of the expected
28   testimony, if any, to be given by these individuals. To the extent not previously disclosed in
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 1   discovery, subsequent disclosures to Defendants will isolate the reports, analyses, summaries
 2   and other findings associated with any potential expert testimony. This notice is meant
 3   merely as a broader initial overview of the individuals and subjects the government may seek
 4   to present evidence of by way of expert testimony.
 5   1.      Special Agent Brian Fichtner, California Department of Justice: Operation of
 6           Backpage’s Website
 7           Special Agent Brian Fichtner has been a law enforcement officer with the California
 8   Department of Justice (CalDOJ) since 1998. From February 2012 to April 2017, he served
 9   in the CalDOJ Bureau of Investigation eCrime Unit. Special Agent Fichtner and his
10   colleagues conducted undercover online operations concerning the placement of ads on
11   Backpage. Special Agent Fichtner prepared reports and made contemporaneous video
12   recordings of his interactions with the Backpage website, and he also spoke with Backpage
13   representatives, including Carl Ferrer and Elizabeth McDougal.
14           Special Agent Fichtner will provide testimony at trial about how the Sacramento area
15   section of www.Backpage.com (Backpage) looked and operated, about the process for
16   posting ads in the “adult”/“escorts” and non-“adult” sections of Backpage, and about the
17   types of undercover investigations that CalDOJ performed relating to Backpage, including
18   responses he and his colleagues received from the placement of undercover ads. He will
19   testify about his observations regarding the website consistent with the reports he prepared
20   and the evidence he gathered concerning those investigations, including video recordings
21   and screen captures showing the website’s operations. He is expected to testify consistent
22   with the investigative reports that he prepared.
23           While the government does not believe that Special Agent Fichtner’s testimony will
24   involve any opinion testimony, it includes his information in this Notice out of an abundance
25   of caution and in the event that any of any his testimony is deemed to constitute expert
26   opinion testimony. His opinions are based on his training and experience in the area of
27   eCrime and electronic evidence gathering. His curriculum vitae is attached as Exhibit A.
28   The government will also separately provide the defense with copies of reports that Special

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 1   Agent Fichtner authored regarding his investigative work concerning Backpage when he was
 2   assigned to the CalDOJ eCrime Unit.
 3   2.      Lieutenant     Detective     Donna      Gavin,     Boston      Police    Department:
 4           Prostitution/Human Trafficking/Child Sex Trafficking Expert
 5           From July 2009 to October 2016, Lieutenant Detective Donna Gavin served as a
 6   Sergeant Detective/Commander of the Boston Police Department’s Human Trafficking Unit.
 7   She later served, from May 2016 to April 2019, as the Lieutenant Detective for the Boston
 8   Police Department’s Crimes Against Children and Human Trafficking Units. She has
 9   extensive experience investigating prostitution, human trafficking and child sex trafficking
10   crimes involving victims who were advertised on Backpage.              On August 13, 2015,
11   Lieutenant Detective Gavin provided a declaration in the Northern District of Illinois that
12   described Backpage’s role in the Boston-area sex trade. Lieutenant Detective Gavin is
13   expected to testify consistent with her August 13, 2015 declaration, and will provide
14   additional relevant details about Backpage’s operations in the Boston area. She is also
15   expected to testify that, in her professional experience as a law enforcement officer for over
16   30 years, the “adult” section of Backpage not only contained ads for illegal activity, including
17   prostitution, solicitation and trafficking, but it was also the primary source for such ads and
18   was well known for that purpose in the sex trafficking industry in Boston, Massachusetts,
19   until the site was shut down in 2018. Further, Lieutenant Detective Gavin is expected to
20   testify that Backpage “adult” section provided a vehicle and anonymity for its users who
21   exploited and trafficked young women and girls, that it provided no legitimate service and
22   that nearly all the cases the Boston Police Department’s Human Trafficking Unit found
23   associated with Backpage involved pimp-controlled prostitution.
24           While the government does not believe that Lieutenant Detective Gavin’s testimony
25   will involve any opinion testimony, it provides this information out of an abundance of
26   caution and in the event that any of any her testimony is deemed to constitute expert opinion
27   testimony. Lieutenant Detective Gavin’s opinions are based on her training and experience
28   in the areas of human trafficking, crimes against children and sexual assault. Lieutenant

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 1   Detective Gavin’s curriculum vitae is attached as Exhibit B.
 2   3.      Detective-Sergeant Thomas Adam Umporowicz Jr., Seattle Police Department
 3           Vice/High Risk Victims Unit and               Human     Trafficking     Task Force:
 4           Prostitution/Human Trafficking/Child Sex Trafficking Expert
 5           Detective-Sergeant Thomas Adam Umporowicz Jr. is the Detective-Sergeant in
 6   charge of the Seattle Police Department’s Vice/High Risk Victims Unit, a position that he
 7   has held since 2014. He has also served as the Human Trafficking Task Force Sergeant for
 8   the Seattle Police Department. He has more than 30 years of law enforcement experience,
 9   and has trained other law enforcement agencies in the United States in the areas of human
10   trafficking and internet crimes against children.
11           On August 14, 2015, Detective-Sergeant Umporowicz provided a declaration that was
12   filed in the Northern District of Illinois. The declaration described Backpage as the primary
13   website in the Seattle, Washington area for those looking to solicit a prostitute, post
14   prostitution ads or traffic prostitutes and minors. In the declaration, Detective-Sergeant
15   Umporowicz opined that in his professional experience:
16           [T]he adult section of Backpage.com not only contains ads for illegal activity,
             including prostitution, solicitation and trafficking, but it is a primary source
17           for such ads and is well known for that purpose in the sex trafficking industry
             in the city of Seattle and State of Washington. But the way Backpage.com
18           operates and the anonymity it provides its users makes it more difficult for us
             to identify and arrest and prosecute these offenders. It is the Seattle Police
19           Department Vice/High Risk Victims Unit position that removing the adult
             section of Backpage.com would greatly assist to disrupt these sex traffickers’
20           easy means of communication and connection for these illegal activities and
             therefore would reduce demand for, and access to, the sex trafficking industry
21           within the city of Seattle and the State of Washington. This would be useful
             in protecting the women and children who are victimized by those numerous
22           individuals who use Backpage.com for these unlawful purposes. In our
             experience, the adult section of Backpage.com seems to serve no legal
23           purpose.
24           Detective-Sergeant Umprowicz is expected to testify consistent with his declaration,
25   and is expected to provide other pertinent details and observations about Backpage’s
26   operations in the Seattle area through Backpage’s closure in 2018. He is also expected to
27   testify about the evolution of prostitution and human trafficking in the Seattle area from the
28   pre-internet era through the rise of Backpage to the post-Backpage era. He will explain how

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 1   the ease-of-use, convenience and relative anonymity of using Backpage (both as a “john”
 2   and as a prostitute or pimp) increased the demand for prostitution services and the supply of
 3   persons who were advertised as prostitutes.        He is expected to testify that Backpage
 4   established a near-monopoly on online prostitution advertising in the Seattle area. He will
 5   also explain how, following Backpage’s shutdown, the sex trade has partly reverted to street-
 6   level prostitution (in hotel lobbies, casinos and on the streets), which has reduced demand
 7   and supply and seriously disrupted the sex trade in the Seattle area. He will also explain
 8   that Backpage was continually put on notice by law enforcement of its facilitation of
 9   prostitution through the issuance of search warrants and subpoenas across the country.
10           Detective-Sergeant Umprowicz’s opinions are based on his training and experience
11   in the areas of law enforcement, prostitution, and human and child sex trafficking. His
12   curriculum vitae is attached as Exhibit C.
13   4.      Robert Spectre, Founder and Chief Executive of childsafe.ai: Impact of
14           Backpage’s Closure on Online Sex Trafficking and Prostitution
15           In April 2019, Spectre authored the report “Beyond Backpage, Buying and Selling
16   Sex in The United States One Year Later.” 1 The report summarizes the immediate online
17   disruption following April 2018 when Backpage was seized and the Stop Enabling Sex
18   Traffickers Act (SESTA) and Fight Online Sex Trafficking Act (FOSTA) were signed into
19   law. Spectre’s analysis concluded that since the events in April 2018 (including Backpage’s
20   shut down), the demand for purchasing sex online has been reduced drastically.
21           Spectre’s background includes tracking online sex trafficking beginning in 2014,
22   when he was contacted by Polaris (https://polarisproject.org/human-trafficking/facts)
23   through his company twilio.org,a start-up company that developed text (short code)
24   technology. That technology is utilized by many different businesses, but was also used to
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26
              1
27           https://childsafe.ai/beyond-backpage-buying-and-selling-sex-in-the-united-states-
     one-year-later
28

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 1   reach victims of sex trafficking. Since Twilio, Spectre has worked with the Cook County
 2   Sherriff’s Office and the New York Police Department to develop deterrence platforms
 3   focused on combating sex trafficking.
 4          In 2017, Spectre, while working with the NYPD’s Human Trafficking Unit,
 5   developed a demand deterrence platform that focused on the demand side of human
 6   trafficking. The platform would capture phone numbers of “johns” who responded to decoy
 7   ads posted by NYPD on Backpage. When a decoy ad was posted, approximately 150
 8   responses would be captured in a two hour-time frame. Since Backpage was seized,
 9   responses have dropped to 20-30 per day, spread among approximately 12 different websites.
10   Spectre’s additional qualifications will be provided separately to Defendants.
11          The government reserves the right to question the experts regarding other matters that
12   may be raised during cross-examination by Defendants, based upon testimony provided by
13   defense experts (if any), or other witnesses and evidence introduced by Defendants.
14          Respectfully submitted this 17th day of June, 2019.
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                                               United States Attorney
16                                             District of Arizona
17                                             s/ Kevin M. Rapp
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18                                             MARGARET PERLMETER
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                                               Child Exploitation and Obscenity Section
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 1                                     Certificate of Service:

 2   I hereby certify that on June 17, 2019, I electronically transmitted the attached document to
     the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
 3   Electronic Filing to the CM/ECF registrants who have entered their appearance as counsel
     of record.
 4
 5   s/ Angela Schuetta
     Angela Schuetta
 6   U.S. Attorney’s Office
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